Case 3:04-cr-00040-GMG-JES Document 232 Filed 10/28/09 Page 1 of 2 PageID #: 1341



                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  MARCUS DOMINIC BROOKS,

                Petitioner,

  v.                                                    Civil Action No. 3:07CV170
                                                        Criminal Action No. 3:04CR40-2
                                                        (Judge Maxwell)

  UNITED STATES OF AMERICA,

                Respondent.

                                           ORDER

         It will be recalled that on January 5, 2009, Magistrate Judge James Seibert filed

  his Report and Recommendation That §2255 Motion Be Denied, wherein the Petitioner

  was directed, in accordance with 28 U.S.C. § 636(b)(1), to file with the Clerk of Court

  any written objections within ten (10) days after being served with a copy of the Report

  and Recommendation. No objections to the Magistrate Judge’s Report and

  Recommendation have been filed. Accordingly, the Court will review the Magistrate’s

  Report and Recommendation for clear error.1

         Upon examination of the report from the Magistrate Judge, it appears to the

  Court that the issues raised by the Petitioner in his Motion to Vacate, which was filed

  pursuant to 28 U.S.C. §2255, wherein Petitioner alleges ineffective assistance of

  counsel, as well as the response by Respondent, were thoroughly considered by

  Magistrate Judge Seibert in his Report and Recommendation. Moreover, the Court,



        1
           The failure of a party to object to a Report and Recommendation waives the party’s
  right to appeal from a judgment of this Court based thereon and, additionally, relieves the
  Court of any obligation to conduct a de novo review of the issues presented. See Wells v.
  Shriners Hospital, 109 F.3d 198, 199-200 (4th Cir. 1997); Thomas v. Arn, 474 U.S. 140, 148-
  153 (1985).
Case 3:04-cr-00040-GMG-JES Document 232 Filed 10/28/09 Page 2 of 2 PageID #: 1342



  upon a review for clear error, is of the opinion that the Report and Recommendation

  accurately reflects the law applicable to the facts and circumstances before the Court in

  this action. Therefore, it is

         ORDERED that Magistrate Judge Seibert’s Report and Recommendation be,

  and the same hereby is, accepted in whole and that this action be disposed of in

  accordance with the recommendation of the Magistrate Judge. Accordingly, it is

         ORDERED that the Petitioner’s §2255 Motion be, and the same hereby is,

  DENIED. It is further

         ORDERED that the above styled action be, and the same hereby is, DISMISSED

  with prejudice and STRICKEN from the docket of this Court. It is further

         ORDERED that, if Petitioner should desire to appeal the decision of this Court,

  written notice of appeal must be received by the Clerk of this Court within thirty (30)

  days from the date of the entry of the Judgment Order, pursuant to Rule 4 of the

  Federal Rules of Appellate Procedure. The $5.00 filing fee for the notice of appeal and

  the $450.00 docketing fee should also be submitted with the notice of appeal. In the

  alternative, at the time the notice of appeal is submitted, Petitioner may, in accordance

  with the provisions of Rule 24(a) of the Federal Rules of Appellate Procedure, seek

  leave to proceed in forma pauperis from the United States Court of Appeals for the

  Fourth Circuit.

         ENTER: October       28 , 2009

                                                           /s/ Robert E. Maxwell
                                                         United States District Judge
